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                         UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


In re: MONUMENT BREWING, LLC                                  Case No. 19-bk-10832-CED

                                                              Chapter 11
       Debtor.
_______________________ /


                          SUPPLEMENTAL BALLOT TABULATION


Date prepared:                         December 4, 2020


Prepared by:                           Samantha L. Dammer, Esq.
                                       Attorney for the Plan Proponent

Filed with respect to:                 Second Amended Plan of Reorganization (Doc. 128)



               SUMMARY OF VOTE BY CLASSES OF CLAIMS AND INTEREST


One (1) ballot cast by unsecured creditor Brad Jacobs in support of the Plan.

DATED on this 4th day of December, 2020


Respectfully submitted,


                                            ______/s/ Samantha L. Dammer_______________
                                            SAMANTHA L. DAMMER, ESQUIRE
                                            Florida Bar No.: 0036953
                                            Samantha L. Dammer, P.A.
                                            620 East Twiggs Street, Suite 110
                                            Tampa, FL 33602
                                            Ph: (813) 288-0303
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                              CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 13th day of November, 2020, a true and correct copy of the

foregoing was sent by CM/ECF Electronic mail to :


Samantha L. Dammer          sdammer@attysam.com;


United States Trustee – TPA USTPRegion21.tp.ecf@usdoj.gov


                                          Respectfully submitted,


                                          ______/s/ Samantha L. Dammer______________
                                          SAMANTHA L. DAMMER, ESQUIRE
                                          Florida Bar No.: 0036953
                                          Samantha L. Dammer, P.A.
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